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                        IN THE UNITED STATES DISTRICT COURT
                         FOR WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

 IN THE MATIER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH
 APPLEID                                           Case No. 24-SW-293
 KIERSTENNAPODANO@GMAIL.COM
 THAT IS STORED AT PREMISES
 CONTROLLED BY APPLE, INC.




                            AFFIDAVIT IN SUPPORT OF AN
                          APPLICATION FOR AWARRANT TO
                                SEARCH AND SEIZE


       I, Benjamin W. Grant, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application for a search warrant under 18

U.S.C. §§ 2703(a), 2703(b)(l)(A), 2703(c){l)(A), 2703(h)(5)(B) to require Apple Inc. (hereafter

"Apple") to disclose to the government records and other information, including the contents of

communications, associated with the above-listed Apple ID that is stored at premises owned,

maintained, controlled, or operated by Apple, a company headquartered at 1 Infinite Loop,

Cuptertino, CA. The information to be disclosed by Apple and searched by the government is

described in the following paragraphs and in Attachments A and B.

       2.     I am a Homeland Security Investigations (HSI) Special Agent (SA) and have been

since January 2017. I am currently assigned to the HSI Assistant Special Agent in Charge (ASAC),

Memphis, Tennessee.      I completed an intensive six-month academy at the Federal Law

Enforcement Training Center, located in Glynco, Georgia, which included the Criminal

Investigator Training Program and the HSI Special Agent Training Program. While attending the




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 Federal Law Enforcement Training Center I received training in investigative areas including

 customs and immigration fraud, child sexual abuse material, human trafficking, narcotics

 smuggling, money laundering, bulk cash smuggling, the illegal exportation of weapons, munitions

 and high technology items, the illegal exportation of commodities, general smuggling, and alien

 smuggling. Before my employment with HSI, I earned a graduate degree from the University of

 Scranton and served in the U.S . Air Force.

                                   STATUTORY VIOLATIONS

        3.      Based upon the information contained in this affidavit, I have probable cause to

 believe that information associated with Apple ID "KIERSTENNAPODANO@GMAIL.COM"

(hereinafter SUSPECT ACCOUNT), is evidence, contraband, fruits, and instrumentalities of

violations of federal law, namely 18 U.S .C. § 2252A, possession of child pornography, and 18

U.S.C. §§ 2422(b), coercion and enticement as more particularly described in Attachment B.

        4.      I make this affidavit in support of an application for a warrant to search SUSPECT

ACCOUNT as described more fully in Attachment A, and to seize the items relating to violations

of 18 U.S.C. § 2252A, and 18 U.S.C. §§ 2422(b) as more fully described in Attachment B. I make

this affidavit to search SUSPECT ACCOUNT information to be disclosed by Apple Inc

        5.     The facts set forth in this affidavit are based on my own personal knowledge,

knowledge obtained from other individuals participating in this investigation, including other law

enforcement officers, my review of documents and computer records related to this investigation,

communications with others who have personal knowledge of the events and circumstances

described herein, and information gained through my training and experience. Because this

affidavit is submitted for the limited purpose of establishing probable cause in support of the

application for a seizure and search warrant, it does not set forth each and every fact that I or others
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 have learned during this investigation.

                                           DEFINITIONS

        6.      The below definitions apply to this Affidavit and Attachment B to this Affidavit.

        7.      "Child Pornography" includes the definition in 18 U.S.C. § 2256(8) (any visual

 depiction of sexually ex~licit conduct where (a) the production of the visual depiction involved

 the use of a minor engaged in sexually explicit conduct, (b) the visual depiction is a digital image,

 computer image, or computer-generated image that is, or is indistinguishable from, that of a minor

 engaged in sexually explicit conduct, or (c) the visual depiction has been created, adapted, or

 modified to appear that an identifiable minor is engaged in sexually explicit conduct).

        8.      "Visual depictions" includes prints, copies of visual images, developed and

 undeveloped film and videotape, and data stored on computer disk or by electronic means, which

 is capable of conversion into a visual image. See 18 U.S.C. § 2256(5).

        9.      "Child Erotica" means materials or items that are sexually arousing to persons

 having a sexual interest in minors but that are not, in and of themselves, obscene or that do not

 necessarily depict minors in sexually explicit poses or positions.

        10.     This application seeks a warrant to search all responsive records and infonnation

 under the control of Apple Inc., a provider subject to the jurisdiction of this court, regardless of

where Apple has chosen to store such infonnation. The government intends to require the

disclosure pursuant to the requested warrant of the contents of wire or electronic communications

and any records or other infonnation pertaining to the customers or subscribers if such

communication, record, or other infonnation is within Apple Inc.' s possession, custody, or control,




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 regardless of whether such communication, record, or other infonnation is stored, held, or

 maintained outside the United States.

          l l.   I am aware that many providers of digital services have staff members who work

 shifts other than traditional business hours. Such staff members may at times be responsible for

 compiling materials responsive to search warrants. Therefore, I request that this warrant be

 executable at any time of the day or night, as that may be more convenient for the responding

 party.

          12.    Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

 required for the service or execution of this warrant.


                                         INVESTIGATION

          13.    On April 4, 2024, I learned information indicating Kiersten NAPODANO, a

 registered sex offender, was engaged in a sexual relationship with an identified minor victim (MV).

 The information I received also indicated that on April 4, 2024, NAPODANO and MV were

 possibly alone together in a vehicle. I coordinated with the Shelby County Sheriffs Office (SCSO)

 in an attempt to locate MV and NAPODANO.

          14.    Later the same day, SCSO encountered MV and NAPODANO in a Toyota sedan

 which was stopped after running a stop sign. MV, a 17-year-old with no driver license, was

 discovered operating the vehicle and NAPODANO was in the passenger seat. NAPODANO is a

 registered owner of the vehicle. I arrived on scene shortly thereafter.

          15.    I encountered MV at the scene and identified myself as a Special Agent with

 Homeland Security Investigations. MV provided the below statements in summary and not

 verbatim.

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        -     MV stated the reason for being stopped was because MV did not fully stop at the stop

              sign and that they had no license.

        -     MV stated they were not in school because they did not want to go that day.

        -     MV stated the reason he was driving was because NAPODANO wanted to apply her

              makeup (SA note: NAPODANO did not appear to be wearing makeup).

        -     MV stated they were aware NAPODANO was a sex offender and that NAPODANO

              had disclosed that fact.

        -     MV stated they met NAPODANO approximately in December 2023, they talk and have

              each other's phone number.

        -     MV displayed NAPODANO's contact on their phone. It was saved as "Neida" a name

              MV said he gave her.

        -     MV stated he only calls and never texts NAPODANO or use social media with her.

        -     MV did not consent to a search of the "hidden images" album on their iPhone.

        -     MV stated NAPODANO knew he was a minor, 17 years old.

        -     MV denied having sexual contact with NAPODANO. MV stated they did not want to

              get NAPODANO in trouble and asked what was going to happen to her.

        16.      I also encountered NAPODANO at the scene and identified myself as a Special

 Agent with Homeland Security Investigations. I Mirandized her and asked if she was willing to

 speak with me. NAPODANO provided the below statements in summary and not verbatim.

        -     NAPODANO stated the driver was MV and identified them by their true first name.

        -     NAPODANO stated she does not have a license either but was giving him a ride.

        -     NAPODANO stated MV did not go to school that morning but that she was driving

              MV to school now (approximately 2pm) for a party or baby shower.
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        -     NAPODANO was unable or unwilling to explain when and where she picked up MV

              on April 4, 2024.

        -     NAPODANO was unable or unwilling to provide a timeline of her day on April 4,

              2024.

        -     NAPODANO stated she first met MV in January or February 2024 at an identified

              Memphis restaurant where they are employed.

        -     NAPODANO stated MV contacted her on April 4, 2024, via a Snapchat phone call and

              she picked him up.

        -     NAPODANO denied being under the influence of drugs or alcohol and stated the last

              time she used was four days prior.

        -     NAPODANO stated she took full responsibility for having MV drive unlicensed.

        -     NAPODANO denied having sexual contact with MV.

        -     NAPODANO denied consent to search her phone.

        -     NAPODANO stated nobody she knows, also knows MV.

        17.      MV was released from the scene to the custody of their mother. NAPODANO was

 charged by SCSO with violating the terms of her probation and transported to 201 Poplar.

        18.      On April 5, 2024, an identified source contacted me and stated they possessed

 SUSPECT DEVICE (said to be NAPODANO's Lenovo laptop.) The source stated NAPODANO

 wanted incriminating images to be removed from her devices and her iCloud account (SUSPECT

 ACCOUNT) to be wiped. They stated they wanted to tum it over because it contained evidence

 ofNAPODANO being a predator. This information was corroborated by NAPODANO's first jail

 call. At approximately 7:20pm on the day of her arrest, she called an identified person. Their

 conversation included the following non-verbatim statements made by NAPODANO.
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 Approximately two minutes into her call, NAPODANO stated this is really, really important and

 I have to be limited on what I say. She stated her iCloud login name and password to the person

 and directed them to navigate to her Find My app, locate the option as if her device was stolen and

 erase all data. NAPODANO stated would you please do that; it's serious. Go in Find My and

 erase all data as fast as you can.

         19.    On April 5, 2024, I met with the identified source, and they turned over SUSPECT

 DEVICE (SIN: PF41EM0Z) and signed a property receipt.            During this meeting, the source

 displayed sexual images on SUSPECT DEVICE to me. the images were displayed voluntarily

 and unprompted by me. I observed images that showed a male and female engaged in genital-

 genital penetration. The source stated the female is NAPODANO and the male is MV. I did not

 observed images with faces. The source stated the images they displayed and other information

 were linked to NAPODANO's Apple ID. The source also displayed NAPODANO's Apple ID on

 the device and I observed KlERSTENNAPODANO@GMAIL.COM (SUSPECT ACCOUNT).

        20.     Given the information referenced in paragraphs 13 through 16, I determined

 NAPODANO is a registered sex offender who was discovered alone with an identified minor in

 violation of her status. Given the fact pattern of this case and the information referenced in

 paragraphs 18 and 19, I determined the images I observed on SUSPECT DEVICE probably

 constitute child pornography as defined in 18 U.S.C. § 2256 and that the images are probably

 stored on and or associated with SUSPECT ACCOUNT.

                  INFORMATION REGARDING APPLE ID AND iCLOUD

        21.     Apple is a United States company that produces the iPhone, iPad, and iPod Touch,

 all of which use the iOS operating system, and desktop and laptop computers based on the Mac

 OS operating system.
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        22.     Apple provides a variety of services that can be accessed from Apple devices or, in

 some cases, other devices via web browsers or mobile and desktop applications ("apps"). As

 described in further detail below, the services include email, instant messaging, and file storage:

                a.      Apple provides email service to its users through email addresses at the

 domain names mac.com, me.com, and icloud.com.

                b.      iMessage and FaceTime allow users of Apple devices to communicate in

 real-time. iMessage enables users of Apple devices to exchange instant messages ("iMessages")

 containing text, photos, videos, locations, and contacts, while FaceTime enables those users to

 conduct video calls.

                c.      iCloud is a file hosting, storage, and sharing service provided by Apple.

 iCloud can be utilized through numerous iCloud-connected services and can also be used to store

 iOS device backups and data associated with third-party apps.

                d.      iCloud-connected services allow users to create, store, access, share, and

 synchronize data on Apple devices or via icloud.com on any Internet-connected device. For

 example, iCloud Mail enables a user to access Apple-provided email accounts on multiple Apple

 devices and on icloud.com. iCloud Photo Library and My Photo Stream can be used to store and

 manage images and videos taken from Apple devices, and iCloud Photo Sharing allows the user

 to share those images and videos with other Apple subscribers. iCloud Drive can be used to store

 presentations, spreadsheets, and other documents. iCloud Tabs enables iCloud to be used to

 synchronize webpages opened in the Safari web browsers on all of the user's Apple devices.

 iWorks Apps, a suite of productivity apps (Pages, Numbers, and Keynote), enables iCloud to be

 used to create, store, and share documents, spreadsheets, and presentations. iCloud Keychain


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 enables a user to keep website username and passwords, credit card information, and Wi-Fi

 network information synchronized across multiple Apple devices.

                e.       Game Center, Apple's social gaming network, allows users of Apple

 devices to play and share games with each other.

                f.       Find My iPhone allows owners of Apple devices to remotely identify and

 track the location of, display a message on, and wipe the contents of those devices.

               g.        Location Services allows apps and websites to use information from

 cellular, Wi-Fi, Global Positioning System ("GPS") networks, and Bluetooth, to determine a user' s

 approximate location.

               h.        App Store and iTunes Store are used to purchase and download digital

 content. iOS apps can be purchased and downloaded through App Store on iOS devices, or through

 iTunes Store on desktop and laptop computers running either Microsoft Windows or Mac OS.

 Additional digital content, including music, movies, and television shows, can be purchased

 through iTunes Store on iOS devices and on desktop and laptop computers running either

 Microsoft Windows or Mac.

        23.    Apple services are accessed through the use of an "Apple ID," an account created

 during the setup of an Apple device or through the iTunes or iCloud services. A single Apple ID

 can be linked to multiple Apple services and devices, serving as a central authentication and

 syncing mechanism.

        24.    An Apple ID takes the form of the full email address submitted by the user to create

 the account; it can later be changed. Users can submit an Apple-provided email address (often

 ending in @icloud.com, @me.com, or @mac.com) or an email address associated with a third-

 party email provider (such as Gmail, Yahoo, or Hotmail). The Apple ID can be used to access
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  most Apple services (including iCloud, iMessage, and FaceTime) only after the user accesses and

  responds to a "verification email" sent by Apple to that "primary" email address. Additional email

  addresses ("alternate," "rescue," and "notification" email addresses) can also be associated with

  an Apple ID by the user.

          25.    Apple captures information associated with the creation and use of an Apple ID.

  During the creation of an Apple ID, the user must provide basic personal information including

  the user's full name, physical address, and telephone numbers. The user may also provide means

  of payment for products offered by Apple. The subscriber information and password associated

  with an Apple ID can be changed by the user through the "My Apple ID" and "iForgot" pages on

  Apple's website. In addition, Apple captures the date on which the account was created, the length

  of service, records of log-in times and durations, the types of service utilized, the status of the

  account (including whether the account is inactive or closed), the methods used to connect to and

  utilize the account, the Internet Protocol address ("IP address") used to register and access the

  account, and other log files that reflect usage of the account.

         26.     Additional information is captured by Apple in connection with the use of an Apple

  ID to access certain services. For example, Apple maintains connection logs with IP addresses

 that reflect a user's sign-on activity for Apple services such as iTunes Store and App Store, iCloud,

 Game Center, and the My Apple ID and iForgot pages on Apple's website. Apple also maintains

 records reflecting a user's app purchases from App Store and iTunes Store, "call invitation logs"

 for FaceTime calls, and "mail logs" for activity over an Apple-provided email account. Records

 relating to the use of the Find My iPhone service, including connection logs and requests to

 remotely lock or erase a device, are also maintained by Apple.


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          27.    Apple also maintains information about the devices associated with an Apple ID.

  When a user activates or upgrades an iOS device, Apple captures and retains the user's IP address

  and identifiers such as the Integrated Circuit Card ID number ("ICCID"), which is the serial

  number of the device's SIM card. Similarly, the telephone number of a user's iPhone is linked to

  an Apple ID when the user signs in to FaceTime or iMessage. Apple also may maintain records

  of other device identifiers, including the Media Access Control address ("MAC address"), the

  unique device identifier ("UDID"), and the serial number. In addition, infonnation about a user's

  computer is captured when iTunes is used on that computer to play content associated with an

  Apple ID, and information about a user's web browser may be captured when used to access

  services through icloud.com and apple.com. Apple also retains records related to communications

  between users and Apple customer service, including communications regarding a particular

  Apple device or service, and the repair history for a device.

         28.     Apple provides users with five gigabytes of free electronic space on iCloud, and

  users can purchase additional storage space. That storage space, located on servers controlled by

  Apple, may contain data associated with the use of iCloud-connected services including: email

  (iCloud Mail); images and videos (iCloud Photo Library, My Photo Stream, and iCloud Photo

  Sharing); documents, spreadsheets, presentations, and other files (iWorks and iCloud Drive); and

  web browser settings and Wi-Fi network information (iCloud Tabs and iCloud Keychain). iCloud

  can also be used to store iOS device backups, which can contain a user's photos and videos,

  iMessages, Short Message Service ("SMS") and Multimedia Messaging Service ("MMS")

  messages, voicemail messages, call history, contacts, calendar events, reminders, notes, app data

  and settings, and other data. Records and data associated with third-party apps may also be stored


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  on iCloud; for example, the iOS app for WhatsApp, an instant messaging service, can be

  configured to regularly back up a user's instant messages on iCloud.

         29.     In my training and experience, evidence of who was using an Apple ID and from

  where, and evidence related to criminal activity of the kind described above, may be found in the

  files and records described above. This evidence may establish the ''who, what, why, when, where,

  and how" of the criminal conduct under investigation, thus enabling the United States to establish

  and prove each element or, alternatively, to exclude the innocent from further suspicion.

         30.     For example, the stored communications and files connected to an Apple ID may

  provide direct evidence of the offenses under investigation. Based on my training and experience,

  instant messages, emails, voicemails, photos, videos, and documents are often created and used in

  furtherance of criminal activity, including to communicate and facilitate the offenses under

  investigation. Based on this investigation, I expect to find evidence of NAPODANO in a close

  continuing relationship with MV, including evidence of her sexual contact with MV. I expect to

  find evidence including but not limited to messages exchanged between NAPODANO and MV

  coordinating times or places to meet and visual depictions of her sexual contact with MV.

         31.     In addition, the user's account activity, logs, stored electronic communications, and

  other data retained by Apple can indicate who has used or controlled the account. This "user

  attribution" evidence is analogous to the search for "indicia of occupancy" while executing a

  search warrant at a residence. For example, subscriber information, email and messaging logs,

  documents, and photos and videos (and the data associated with the foregoing, such as geo-

  location, date, and time) may be evidence of who used or controlled the account at a relevant time.

  As an example, because every device has unique hardware and software identifiers, and because

  every device that connects to the Internet must use an IP address, IP address and device identifier
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  infonnation can help to identify which computers or other devices were used to access the account.

  Such infonnation also allows investigators to understand the geographic and chronological context

  of access, use, and events relating to the crime under investigation.

          32.    Account activity may also provide relevant insight into the account owner's state

  of mind as it relates to the offenses under investigation. For example, infonnation on the account

  may indicate the owner's motive and intent to commit a crime (e.g., infonnation indicating a plan

  to commit a crime), or consciousness of guilt (e.g., deleting account infonnation in an effort to

  conceal evidence from law enforcement).

          33 .   Other infonnation connected to an Apple ID may lead to the discovery of additional

  evidence. For example, the identification of apps downloaded from App Store and iTunes Store

  may reveal services used in furtherance of the crimes under investigation or services used to

  communicate with potential additional unidentified minor victims. In addition, emails, instant

  messages, Internet activity, documents, and contact and calendar infonnation can lead to the

  identification of potential additional unidentified minor victims and instrumentalities of the crimes

  under investigation.

         34.     Therefore, Apple's servers are likely to contain stored electronic communications

  and infonnation concerning subscribers and their use of Apple's services. In my training and

  experience, such information may constitute evidence of the crimes under investigation including

  infonnation that can be used to identify the NAPODANO as an account user and provide evidence

  of her criminal violations.

                                           CONCLUSION

         35 .    I submit that there is probable cause to believe that evidence, contraband, fruits,

  and instrumentalities of violations of 18 U.S.C. § 2252A, and 18 U.S.C. §§ 2422(b) are located on
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 SUSPECT ACCOUNT described in Attachment A. I, therefore, request that the attached warrant

 be issued authorizing the search and seizure of the items listed in Attachment B.




                                                      Res3         submitted,

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                                                      Benjamin W. Grant
                                                      Special Agent, HSI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 41 by
telephone, this 11th day of J uly, 2024 .




                     .,
      s/Tu M. Pham
HON. TUM. PHAM
Chief United States Magistrate Judge




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